      Case 2:25-cv-00255-JNW           Document 123         Filed 05/09/25         Page 1 of 3




                                                              District Judge Jamal N. Whitehead




                         UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE



PLAINTIFF PACITO; PLAINTIFF ESTHER;                   CASE NO. 2:25-cv-00255-JNW
PLAINTIFF JOSEPHINE; PLAINTIFF
SARA; PLAINTIFF ALYAS; PLAINTIFF                      NOTICE OF 9TH CIRCUIT ORDER
MARCOS; PLAINTIFF AHMED;                              GRANTING DEFENDANTS’ MOTION TO
PLAINTIFF RACHEL; PLAINTIFF ALI;                      AMEND OR CLARIFY THE CIRCUIT
HIAS, INC.; CHURCH WORLD SERVICE,                     COURT ORDER GRANTING A PARTIAL
INC.; and LUTHERAN COMMUNITY                          STAY
SERVICES NORTHWEST,

                  Plaintiffs,

        v.
DONALD J. TRUMP, in his official capacity
as President of the United States, MARCO
RUBIO, in his official capacity as Secretary of
State, KRISTI NOEM, in her official capacity
as Secretary of Homeland Security;
DOROTHY A. FINK, in her official capacity
as Acting Secretary of Health and Human
Services,

                 Defendants.




NOTICE OF COURT ORDER                                      U.S. Department of Justice
                                                           Civil Division, Office of Immigration Litigation
                                                           P.O. Box 878, Ben Franklin Station
No. 2:25-cv-00255-JNW                                      Washington, DC 20044
                                                           (202) 353-5677
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      Case 2:25-cv-00255-JNW           Document 123        Filed 05/09/25         Page 2 of 3




                                  NOTICE OF COURT ORDER

       Defendants, through counsel, hereby give notice to this Court that, on May 9, 2025, the U.S.

Court of Appeals for the Ninth Circuit granted, in part, Defendants’ motion to amend or further clarify

the Ninth Circuit’s March 25, 2025 Stay Order, staying, in part, this Court’s First Preliminary

Injunction, Dkt. No. 45. Importantly, the Ninth Circuit clarified that the limited carveout from the

stay “should be interpreted narrowly, on a case-by-case basis, so to apply to individuals with a strong

reliance interest arising prior to January 20, 2025, comparable to Plaintiff Pacito.” Pacito v. Trump,

No. 25-1313, Dkt. Entry 64.1 (9th Cir. 2025).




DATED this 9th day of May, 2025.

                                             Respectfully submitted,

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                                             Acting Assistant Attorney General
                                             Civil Division

                                             DREW ENSIGN
                                             Deputy Assistant Attorney General

                                             DAVID KIM
                                             Senior Litigation Counsel

                                             /s/ Alexandra L. Yeatts
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                                             U.S. Department of Justice
                                             Civil Division, Office of Immigration Litigation
                                             Washington, DC 20005
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      Case 2:25-cv-00255-JNW   Document 123     Filed 05/09/25        Page 3 of 3




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                                   Attorneys for Defendants




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